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                The Al-Ansar Charitable Society [Al-Ansar Society Logo]
           Arabic Origins… Islamic Conduct… Palestinian Identity, Benevolence and Activism



                Look at Visitors' List                                     Sign Visitors' List




       *About the Society                               A Call for Victory
       *The Society’s                    [Al-Ansar Society                                The Al-Ansar Charitable
       Activities                        Logo]                                            Society condemns the
       *Caring for the                                                                    terrorist massacre against
                                                                                          our Palestinian people,
       Martyrs’ Families                                                                  which claimed the lives
       *Orphans’                                                                          of nine of our tyrannized
                                                                                          people, who were
       Sponsorship                                                                        returning from their
       Program                                                                            morning prayer. Among
                                                                                          the nine was the holy
       *Among the                                                                         warrior, Sheikh Ahmad
       Aspects of Welfare                                                                 Yasin.
       *News of the                      You, who believe,                                Glory be upon the
                                         be helpers of God.                               martyrs. Shame and
       Society
                                                                                          disgrace be upon the
       *Audio Prayers                                                                     traitors and spies.
       and Songs
                                                                                          The Al-Ansar Society
       *Written Prayers                                                                   greets and salutes the
       *Palestinian Cities                                                                family of the holy
                                                                                          warrior, the field
       *Contact Us                                                                        commander in the Al-
                                                                                          Quds Brigades, Ibrahim
                                                                                          al-Haw.

                                                                                          Glory and eternal life for
                                                                                          the martyrs.


                                         You are visitor number

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                                                    Program |Contact Us
                 News of the Society | Audio Songs | Palestinian Cities | Aspects of Welfare | Written Prayers




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                                      News of the Society
     Palestine:
     The Al-Ansar Charitable Society
     - The Al-Ansar Charitable Society condemns the heinous massacre committed
       against innocent people in Iraq, who were killed unjustly and aggressively on the
       10th day of the month of Muharram [according to the Hijri calendar] in the cities of
       Al-Kazimiya and Karbala. We return to Allah and our refuge is in Allah.

     Palestine:
     The Al-Ansar Charitable Society
     - The Al-Ansar Charitable Society denounces and condemns the criminal, sinful
       attack of foolish piracy, committed by the forces of the occupation against the
       Palestinian banks in the city of Ramallah, which robbed the banks’ money that
       included the money of the martyrs, who are sponsored by the Society.

     Palestine:
     The Al-Ansar Charitable Society
     - A delegation on behalf of the Al-Ansar Charitable Society expressed its
       condolences to the family of the martyr Muwafaq al-A'lraj. Allah has embraced
       him and is satisfied by him.

     Palestine:
     The Al-Ansar Charitable Society
     - On February 26, 2004, the Al-Ansar Charitable Society distributed the allowances
       of the martyrs’ families.

     Palestine:
     The Al-Ansar Charitable Society
     - A source in the Public Relations [Department] of the Al-Ansar Charitable Society
       for the Martyrs’ Families Care, said that in light of the difficult economic situation
       that has befallen the Palestinian People as a natural result of the occupation’s
       practices, the Society has provided assistance to several families of security
       prisoners, who are incarcerated in the prisons of the Zionist enemy.

        The assistance was given in cash on the occasion of blessed Eid al-Adha.




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     Palestine:
     The Al-Ansar Charitable Society
     - An official source from the Al-Ansar Charitable Society for Martyrs’ Families
       Care in Palestine said that a political official from one of the Palestinian factions
       has visited the Society and spoken with the Society’s employees about the nature
       of the Society’s activity. The employees of the Society gave the visitor an update
       regarding the services that the Society provides and the help it gives to the families
       of those who sustained damages as a result of the occupation’s policies. The visitor
       praised the Society’s activity and what it had achieved in the field of charitable
       activity.

     Palestine:
     The Al-Ansar Charitable Society
     - The Director General of the Al-Ansar Charitable Society, who also serves as the
       official in charge of the Martyrs’ Care Portfolio, told Al-Ansar’s website that on
       Thursday January 29, 2004 the Society sent the management of Arab Bank lists of
       names of the martyrs, as well as the beneficiaries from among their families, in
       order to pay the martyrs’ allowances.

        The director-general blesses the martyrs’ families on the occasion of the blessed
        Eid al-Adha, and asks them to check their account numbers immediately after the
        Eid al-Adha vacation.




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                          The Al-Ansar Charitable Society
                    Arabic Origins… Islamic Conduct… Palestinian
                              Identity, Benevolence and Activism


                                             Palestine – Gaza
                                Abd al-Qader al-Huseini Street
                              Telephone: 00970/8 2867554 - 2867556
                                          Fax: 00970/8 2867553
                                      Email: alansar@palnet.com
     For donations:
     Cairo-Amman Bank, Islamic Transactions Department, 3/6912 – Gaza;
     Arab Bank (Al-Rimal) 100541/3/510
     Cairo-Amman Bank, Islamic Business Department, 1/6157 – Nablus




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                             Caring for the Families of the Fallen

     We, the Al-Ansar Charitable Society, assist the martyrs’ families on a monthly basis,
     throughout the homeland’s governorates and insofar as the means at our disposal
     allow. We have helped a number of students at the national universities, who could
     not afford to pay their tuitions due to the circumstances that have befallen our People.

     Each month we help a number of families that are below the poverty line. We
     distribute basic supplies to needy families and we have run a summer camp for the
     martyrs’ children.

     We have embarked on a project to build a special school for the martyrs’ children, so
     that they will be able to continue their studies and be well-raised. We have embarked
     on a project to sponsor the martyrs’ sons. All these projects are run in the framework
     of the simple means at our disposal. We nevertheless do everything within our
     capabilities to serve our people.

     Realistically speaking, in terms of numbers and figures, during the two years that
     have passed since its establishment, Al-Ansar has taken under its wings 2,750
     martyrs’ families across our ill-fated homeland, especially families of martyrs that
     have fallen during the blessed al-Aqsa Intifada.

     The Al-Ansar Society has raised high its banner of providing people with their rights.
     In doing so, it overcame the obstacles and borders that have been shattered by those
     who long for martyrdom and for meeting with Allah almighty.

     The Society has for example sent martyrs’ allowances to Sakhnin and Arabe, which
     are located inside the 1948 borders of occupied Palestine. It has also aided martyrs’
     families in Arab countries, especially in Egypt and Jordan.

     The Al-Ansar Society opens its doors to martyrs’ relatives, who intend to register the
     names of the martyrs, who saturated with their sweet-smelling blood the pure earth of
     Palestine and who drew the features of liberty and of the new dawn. The Al-Ansar
     Society is following in their footsteps and shares the sorrows and hopes of the
     martyrs’ relatives and families.




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            Transfers to Martyrs’ Families, whose Homes were Destroyed
     No.   Martyr’s Name     Beneficiary’s    Bank and    Account        Sum in
                             Name             Branch      number         Dollars
     1     Omar              Muhammad         Arab Bank   583294/2       5,000
           Muhammad          Awad Abu al-     – Jenin
           Awad Abu al-      Rub
           Rub
     2     Yusuf             Muhammad         Arab Bank   583289/6       5,000
           Muhammad          Ragheb           – Jenin
           Ragheb Hamdan     Hamdan Abu
           Abu al-Rub        al-Rub
     3     Abd al-Karim      Omar             Arab Bank   579732/2       5,000
           Omar              Muhammad         – Jenin
           Muhammad          Yusuf Ahmad
           Yusuf Ahmad
     4     Nazir             Sawsan Samih     Arab Bank   579950/3       2,500
           Muhammad          Fayez Hammad     – Jenin
           Mahmud
           Hammad
     5     Izz al-Din        Shuheil Ahmad    Arab Bank   579796/6       6,000
           Shuheil Ahmad     al-Masri         – Jenin
           al-Masri
                                                               Total: 23,500


     No.   Martyr’s Name     Beneficiary’s    Bank and    Account        Sum in
                             Name             Branch      number         Dollars
     1     Muhanad           Mahmud           Arab Bank   445931         6000
           Mahmud            Ibrahim Abu      – Nablus
           Ibrahim Abu Zur   Zur
     2     Khaled Nabil      Nabil Khamis     Arab Bank   424113         5000
           Khamis            Muhammad         – Nablus
           Muhammad          Sawalha
           Sawalha
     3     Ibrahim Yaser     Yaser Ibrahim    Arab Bank   446225         5000
           Ibrahim Naji      Naji Khalil      – Nablus
           Khalil
     4     Amjad Suleiman    Suleiman Hasan   Arab Bank   449290         4500
           Hasan Husein      Husein Abu       – Nablus
           Abu Salim         Salim
     5     Khaldun Walid     Walid Aref       Arab Bank   447522         3000
           Aref Muhammad     Muhammad         – Nablus
           Sha’ablu          Sha’ablu
                                                               Total: 23500




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     Names of Great Honor – the Names of Blessed al-Aqsa Intifada Martyrs
     Because the martyrs are stars in the sky and because our history is soaked with their
     blood, it is our duty to honor the names of those who have created this history; the
     names of those who paved the blessed history of Palestine with their pure blood; the
     names of those whose pure blood saturated the pure soil of Palestine. To you, oh
     martyrs, we express our apologies. Your honor calls upon us to remember you and
     record your names and to write them in letters of light.

     The following are lists of the martyrs’ names, age, martyrdom date and the region in
     which they were martyred, according to the records of the Palestinian news agency,
     Wafa.

                                           First List
          The al-Aqsa Intifada Martyrs: September 28, 2000 until October 11, 2000
     No. Name                      Age     City            Type of Injury        Date of
                                                                                 Martyrdom
     1     Salama Saleh Khalil     20      Jericho         Bullet in stomach     5 Oct.
           Zaidat                                          and pelvis
     2     Ramez Abbas             38      Kufr Manda      Two bullets in        3 Oct.
           Bushnaq                                         the head
     3     Ayman Dib al-Lawh       21      Gaza, al-       Shot in the chest     4 Oct.
                                           Daraj
     4     Ala’ Hasan al-     24           Ramallah                              4 Oct.
           Barghuthi
     5     Muhanad Wadi       22           Tulkarem        Wounded during        4 Oct.
           Na’isa                                          protests
     6     Mahmud Lutfi Masad 24           Buraqin,        Bullet in the head    4 Oct.
                                           Jenin
     7     Isma’il Shahda          21      Gaza            Bullet wound          3 Oct.
           Shamlakh
     8     Muhammad Yusuf          12      Bani Suheila    Bullet wound in       4 Oct.
           Abu Asi                                         the chest and
                                                           back
     9     Mahmud Saleh            26      Gaza            Hollow Point          5 Oct.
           Asbita                                          bullet in the chest
     10    Mustafa Mahmud                  Deheisha –      Bullet wound in       5 Oct.
           Fararja                         Bethlehem       chest
     11    Maher Rajab Yusuf               Jebalya         Two bullets in        30 Sept.
           Ubeid                                           the lower back
     12    Iyad Ahmad al-          17      Nablus          Bullet in the head    1 Oct.
           Khashashi
     13    Jihad al-Alul                   Nablus          As a result of a      2 Oct.
                                                           head wound.
     14    Husam Na’im Bakhit      18      Balata          Bullet in the head    1 Oct.
                                           Refugee
                                           Camp –
                                           Nablus
     15    Samer Tabanja           10      Nablus          Chest (heart and      1 Oct.

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                                                      lungs)
     16   Muhammad Sami al-      15   Rafah
          Hamas
     17   Imad al-Anati          19   Ramallah
     18   Salah al-Qiq                Qatna –
                                      Ramallah
     19   Muhammad Nabil         14   Al-Bireh        Head wound           1 Oct.
          Hamed Dawud
     20   Sami Fathi al-         17   Sheikh          Two bullets in       1 Oct.
          Taramsi                     Radwan          the chest and
                                                      back, one of
                                                      which was a
                                                      hollow point
                                                      bullet
     21   Muhammad               25   Jebalya         A bullet in the     30 Sept.
          Muhammad Bad’i al-                          head and a bullet
          Utla                                        in the elbow
     22   Ala al-Adasi                Ramallah
     23   Nizar Ayida            16   Dir Amar        Chest wound         29 Sept.
     24   Muhammad Qaliq         23   Tulkarem                            30 Sept.
     25   Mustafa Hilmi          27   Nablus
          Ramadan
     26   Fahmi Fuad Abu         23   Al-Nusairat     Law Missile in      3 Oct.
          Amnuna                                      the head
     27   Omar Muhammad          20   Jebalya         800m bullet in      3 Oct.
          Abd al-Rahman                               the head
          Suleiman
     28   Muhammad Yunis al-     17   Hebron          Wounded in the      3 Oct.
          Za’amra                                     eye and head
     29   Raed Abu Amuna         27   Gaza
     30   Khadra Ahmad Abu       57   Faqu’a, Jenin   Inhaled gas in 3 Oct.
          Salama                                      Al-Aqsa Mosque
                                                      on a Friday
     31   Wael Taysir Qatawi     16   Balata          Wounded in the 2 Oct.
                                      Refugee         eye
                                      Camp –
                                      Nablus
     32   Muhammad Amin               Jericho
          Sajda
     33   Ibrahim Barhima        27   Jericho         Head wound          2 Oct.
     34   Iyad Subhi Lawabna     20   Nazareth        Hollow Point        2 Oct.
                                                      bullet in the
                                                      heart
     35   Muslih Husein Abu      17   Dir al-Balah    Two bullets in      2 Oct.
          Jarad                                       the chest
     36   Hatem Abd al-Aziz      27   Khaza’a
          al-Najar
     37   Ahmad Ali al-Nabrisi   21   Nablus          Chest wound         4 Oct.
     38   Husam Isma’il al-      16   Tulkarm         Head wound          3 Oct.


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           Hamashri
     39    Fawzi Muhammad                         Ramallah
           Sawahra
     40    Arafat al-Atrash                       Hebron       Murdered in cold 4 Oct.
                                                               blood by the
                                                               “Mista’arvim” 1
                                                               unit
     41    Amar Khalil al-Rifa’i         18       Al-Mughazi   Wounded by a       3 Oct.
                                                               Hollow Point
                                                               bullet in the face
                                                               and the spine
     42    Sharif Faraj Ashur            18       Al-Daraj     Bullet in the      3 Oct.
                                                  neighborhood head
                                                  – Gaza
     43    Isma'il Shahda     27                  Ramallah     Shot in the neck 3 Oct.
           Suleiman
     44    Muhammad Fawzi al- 23                  Al-Sawahra,        Multiple gunshot 4 Oct.
           Sarakhi                                Jerusalem          wounds
     45    Mahmud al-Amwasi   22                  Baituniya,         Multiple gunshot 4 Oct.
                                                  Ramallah           wounds
     46    Omar Abed                     20       Jebalya            Bullet in the
                                                                     head.
     47    Muhammad Ahmad                23       Umm al-
           Jabarin                                Fahm
     48    Amjad Abdallah                23       Tubas              Was injured             30 Sept.
           Uthman                                                    during the
                                                                     clashes in
                                                                     Nablus
     49    Mahmud Ruwaishad              23       Nablus
           Anbara
     50    Khaled al-Bazyan              14       Nablus             Head                    30 Sept.
     51    Zakariya al-Kilani            27       Nablus
     52    Ambulance driver,             45       Gaza               Bullet in the           30 Sept.
           Basam al-Balbisi                                          head, when he
                                                                     tried to save
                                                                     martyr
                                                                     Muhammad
                                                                     Dura.
     53    Muhammad Jamal                12       Al-Bureij          The occupation          30 Sept.
           Muhammad al-Dura                                          forces in the
                                                                     settlement of
                                                                     Netzarim shot
                                                                     him in cold
                                                                     blood. Several
                                                                     shots hit him in
                                                                     the chest,

                                                                                                          1
      Translator's note: Undercover army unit, which assimilates into the local Palestinian population.
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                                                   stomach and in
                                                   all parts of his
                                                   body, while his
                                                   father was
                                                   holding him.
     54   Imad Isha                   Nablus
     55   Muhammad Jihad              Nablus
          Abd al-Razeq
     56   Muhammad Yihya              Jerusalem
          Hasan Faraj
     57   Bilal Muhammad              Abu Dis,
          Khalil Afana                Jerusalem
     58   Muhammad Husein             Um al-Fahm
          Faraj
     59   Amjad Abdallah              Tubas
          Daraghma
     60   Salah Abdallah Abu     26   Gaza         Shot in the chest   2 Oct.
          Qaynas
     61   Imad Ghazi Salem al-   29   Gaza         Shot in the chest   2 Oct.
          Nabih
     62   Imad Faraj             25   Sakhnin                          2 Oct.
          Ghanayem
     63   Walid Abd al-          21   Sakhnin                          2 Oct.
          Mun’im Abu Saleh
     64   Ala Khaled Nasar       18   Araba al-    Head and heart.     2 Oct.
                                      Batuf
     65   Asil Hasan Asila       17   Araba al-    Head and heart      2 Oct.
                                      Batuf
     66   Rami Hatem Ghara       22   Jat, the     A bullet            2 Oct.
                                      Triangle     penetrated his
                                                   eye and stopped
                                                   in the head
     67   Muhammad Hasan         26   Nablus
          Dakhil
     68   Yusuf Subhi Nur        21   Gaza         Died of his         2 Oct.
                                                   wounds
     69   Ahmad Ibrahim Abu      23   Ramallah     Bullet in the       2 Oct.
          Siyam                                    heart.
     70   Ahmad Sami Fayad       23   Ramallah     Bullet in the       2 Oct.
                                                   heart.
     71   Osama al-Hamshari      25   Tulkarem     Shot in the head.   2 Oct.
     72   Muhammad Amin al-           Jericho                          2 Oct.
          Sajdi
     73   Diya Abd al-Rahman     19   Nablus       Shot in the chest   6 Oct.
          Isa
     74   Muhammad Khaled        17   Tulkarm      Shot in the chest   6 Oct.
          Tamam
     75   Iyad Abd al-Halim      24   Nablus       Shot in the chest   6 Oct.
          Ishtaye


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     76   Luai Abdallah al-       20   Jebalya       Shot in the head.   6 Oct.
          Muqayad                                    Head exploded.
     77   Marwan Abd al-          20   Gaza          Shot in the chest   6 Oct.
          Razaq Shamlakh                             with the Hollow
                                                     Point bullet.
     78   Wajed Musa Abu          21   Khan Yunis    A bullet in the     7 Oct.
          Awad                                       back. Bullet
                                                     went out from
                                                     the chest and
                                                     arm.
     79   Saleh Isa al-Riyati     20   Gaza          Shot in the head.   6 Oct.
                                                     Bullet arrived at
                                                     the brain.
     80   Muhammad Khaled         23   Dir al-Hatab Two bullets in       7 Oct.
          Husein Awad                                both hips.
     81   Zuheir Rizq Jaber       24   Gaza, Jebalya Shot in the head.   6 Oct.
          Darabiya
     82   Rashad Isma’il          22   Gaza, Al-      Shot in the head   6 Oct.
          Husein al-Najar              Mughazi
                                       Refugee
                                       Camp
     83   Muhammad Ghaleb         18   Kufr Kana      Died a day after 4 Oct.
          Khamaysa                                    he was wounded.
     84   Nizar Ibrahim           18   Silwan         Shot in the head 29 Sept.
          Shuwaiki
     85   Majdi Samir Musa al-    15   Jerusalem      Shot in the head   6 Oct.
          Muslimani
     86   Sara Abd al-Azim        16   Nablus         Shot in the head   1 Oct.
          Abd al-Haq
     87   Hisham Ahmad            37   Gaza           Shot in the        7 Oct.
          Muqbil                                      stomach and the
                                                      thigh
     88   Muhammad Mustafa        23   Salfit         Shit in the head   7 Oct.
          Abu Bakr
     89   Hasan Husni                  Shatila        The occupation     7 Oct.
                                       Refugee        forces shot at
                                       Camp           citizens in
                                                      Tarbikha Gate in
                                                      Southern
                                                      Lebanon after
                                                      they provoked
                                                      them.
     90   Shadi Anas                   Burj al-       The occupation     7 Oct.
                                       Barajna        forces shot
                                                      citizens in
                                                      Tarbikha Gate,
                                                      South Lebanon,
                                                      after they



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                                                    provoked them.
     91   Yusuf Awad Khalaf       18   Al-Bureij    Shot in the head     8 Oct.
     92   Abd al-Hamid al-        19   Ramallah     Shot in the heart    8 Oct.
          Tay’i Abd al-Hamid
     93   Omar Muhammad           42   Nazareth     Several bullets in 8 Oct.
          Akawi                                     the body.
     94   Wisam Hamdan            26   Nazareth     Shot in the head. 9 Oct.
          Yazbek
     95   Isam Jawda Ahmad        40   Ramallah     Settlers from        9 Oct.
          Mustafa                                   Halamish
                                                    kidnapped him
                                                    into the
                                                    settlement, and
                                                    then hit him in
                                                    the scull, burnt
                                                    him and tortured
                                                    him with fire in a
                                                    barbaric manner.
     96   Ali Sayel Ali Ishaq     25   Qalqilya     Live bullet in the   9 Oct.
          Suwaidan                                  head.
     97   Sami Hasan Salim        17   Tulkarem     Stomach, heart       11 Oct.
          Salimi                                    and back
     98   Karam Omar Qanan        18   Khan Yunis   Shot in the heart    11 Oct.
     99   Muhammad Ghasan         40   Salfit       Settlers ran over    11 Oct.
          Buziya                                    him with a
                                                    vehicle.
     100 Maher Muhammad           24   Nablus       Settlers.            11 Oct.
         Mutlaq


     Move to second list                                          Back to first page




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                                        The Al-Ansar Charitable Society
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                                                  Orphans’ Sponsorship                                *About the Society
  Sponsored by
  Al-Ansar Society                                                                                    *The Society’s
                         From the blessed land, the land of steadfastness [Palestine], we are         Activities
                                                                                                      *Caring for the
                         sending a call for help: "So as for the orphan, do not oppress." Who
                                                                                                      Martyrs’ Families
                         will answer the divine call, and respond to the scream of the                *Orphans’
                         Palestinian orphan? He who does that, will be rewarded by Allah for          Sponsorship

                         keeping away oppression and deprivation.                                     Program
                                                                                                      *Among the
                         May there be happiness for every merciful heart that extended its hand       Aspects of Welfare
                         and touched us and whose noble hand touched the head of a                    *News of the
My father died, my       Palestinian orphan in answer to the calls of Allah and the Messenger.        Society
mother was widowed                                                                                    *Audio Prayers and
and my brothers and      The result is amazing – a sad smile on the face of our orphans.
sisters are lost.                                                                                     Songs
                                                                                                      *Written Prayers
Who shall teach me
to read, write and       Allah Almighty said in His Noble Book: "They will ask you about              *Palestinian Cities
pray? Who shall hug                                                                                   *Contact Us
me when it gets          orphans. Say: 'Doing good for them is best' '', Allah Almighty has
dark?
                         spoken the truth. Almighty Allah appointed man as His successor on
Al-Ansar Charitable
      Society            Earth and subjected everything in the universe to him, and gave man
                         the successive authority in His money - Praise be to Allah. All money
                         belongs to Allah and man is given the authority to spend this money
                         according to what pleases Almighty Allah. Whoever does
                         righteousness - it is for his [own] soul; and whoever does evil [does
                         so] against it. Allah Almighty made charity a way of accumulating
                         and increasing money, and the best and greatest type of charity is the
                         provision of care to the orphans. The chosen Prophet said: “Whoever
                         takes care of an orphan, he and I will be together in Paradise like
                         this,” and he held his forefinger and his middle finger close together.
                         It is as if our great Prophet is holding up a victory sign to us to assert
                         that the path of victory and power cannot be achieved except through
                         caring for the weak and needy. Fulfilling the sayings of Almighty
                         Allah and following the guidance of His greatest Prophet (Peace and




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             blessings be upon Him and His family) and concerned about raising
             the young generation, the Al-Ansar Charitable Society has launched
             its Orphan Sponsoring Scheme and devoted this program to the
             following groups:
                •   Children of martyrs, who fell in the First Intifada, the Tunnel
                    Intifada and the Al-Aqsa Intifada, as well as orphans, who are
                    not sons of martyrs, who have not been sponsored by any
                    other charity.
                •   Two years after it was opened, 1,400 orphans’ forms can be
                    found in Al-Ansar Society’ archives. The Society cooperated
                    with charitable elements, including institutions and
                    individuals, to provide sponsorship to approximately 700
                    children across the West Bank and the Gaza Strip. We hope
                    more orphans will be sponsored, so that the smile – which was
                    taken from them by evil infidels - will go back to their faces.

                                        Al-Shahid Foundation

                                        Palestine Branch


                              Orphans' Sponsorship
                              Project


                                 Sponsored by
                                 Al-Ansar Society




             My Muslim brother and sister,
             The Al-Ansar Charitable Society in Palestine, in cooperation with the
             Al-Shahid Foundation, is sponsoring some orphans. If you look at the
             joy and smile on their faces when they receive their monthly
             allowances, you can feel how delighted they are and how their bodies
             and tongues are throbbing with prayers to Allah Almighty, asking
             Him to perpetuate the goodness and the do-gooders, and to increase
             His grace upon the sponsors.



                                                                           L_C000212 [continued]
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                  Oh Muslim brothers and sisters...
                  Remember Almighty Allah's saying ''So as for the orphan, do not
                  oppress.... '' . What oppression can be harder on an orphan than
                  watching other children eating delectable food and wearing fine
                  clothes while they are deprived of the life every child dreams of.


                  The Sponsorship’s Aims:
                  (The believers, in their mutual kindness, compassion and sympathy,
                  are like one body. When one of the organs suffers, the whole body
                  responds to it with wakefulness and fever.)
                  The Al-Ansar Charitable Society in Palestine is doing whatever it can
                  to set an Islamic example for social solidarity and humanitarian
                  benevolence. It is doing so through aid to many of our people, whose
                  women become widows and whose children become orphans on a
                  daily basis.


                  Terms of Sponsorship (for the sponsored):
                  1. The sponsored should not be more then 18-years old.
                  2. The sponsored should not receive sponsorship from any other
                  charity.
                  3. He should be in need of the sponsorship.
                  How Can I Sponsor an Orphan?
                  Whoever wants to sponsor an orphan should contact the Society by
                  phone, fax, or email, or turn to the Society’s Orphans Department,
                  where he will receive the details and information regarding the
                  orphans.
                  Terms of Sponsorship (for the Sponsor):
                  1. A monthly allowance for sponsorship in Palestine is 50 American
                  dollars.
                  2. One should commit to sponsor an orphan for a period of no less
                  than a whole year.
                  3. One can sponsor more than one orphan at one time.
                  4. In case one cannot continue his sponsorship he should inform the
                  Society two months before the sponsorship ends.
       Home Page | About the Society | The Society’s Activities | Caring for the Martyrs’ Families | Orphans’ Sponsorship
       Program |Contact Us |News of the Society | Audio Songs | Palestinian Cities | Aspects of Welfare | Written Prayers

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                                       The Society’s Activities:
     1. Taking Care of Children
     The Society organized a summer camp for martyrs’ children in 2001. One-hundred
     and twenty martyrs’ children participated in the one-month long camp, which
     included many courses:
     A. Course in the rulings of the holy Quran.
     B. First aid and civil defense.
     C. Intensive course in basic computer skills.
     The camp was titled “Martyrdom and Computer”. After it ended, the Society
     organized a graduation ceremony for the children, which was attended by national and
     Islamic figures, as well as relatives of the martyrs. The Society distributed certificates
     of appreciation for those who participated in the camp.
     In this field, in 2002 the Society took part, along with the brothers in the Tawassul
     Institute, in a summer camp that was organized by the Institute for Orphans and
     Martyrs’ Sons. A delegation on behalf of the Society gave a speech, praising the
     martyrs and their struggle. The delegation spoke highly of the importance of taking
     care of the martyrs’ families. After the speech, it distributed gifts to the participating
     children.
     Because of the limited means at its disposal, the Al-Ansar Charitable Society was not
     able to organize the martyrs’ summer camp in 2003, despite the fact that the necessary
     studies were conducted for this purpose.


     2. Social Activities and Contributions
     1. The Al-Ansar Charitable Society organized a ceremony in honor of the martyrs in
     2001. The event took place during the memorial ceremony for the burning of the al-
     Aqsa Mosque. The festival included speeches by a number of national and Islamist
     figures. The Society distributed gifts to the martyrs’ families.
     [Translator's note: clauses 2 and 3 were excluded from the original text]
     4. The Society participated in a solidarity rally with the Palestinian people. During the
     rally, which was launched in Bahrain, the Society gave a speech over the phone. The
     speech was made by a martyr’s daughter, who spoke about the suffering of the
     Palestinian people and its steadfastness.
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     5. A delegation from the Society participated in 2002 in a ceremony held for honoring
     the best performing students at al-Azhar University. The brother chairman of the
     Society presented each excelling student with a copy of the Quran.
     6. The Al-Ansar Charitable Society organized a public fast-breaking meal for al-
     Azhar University students in Ramadan 2002. The meal was attended by around 400
     students, most of whom were students living in Gaza temporarily. Most of them are
     from Rafah and Khan Yunes, but live in Gaza because of the siege.
     7. The Society took part in sending aid to many of secondary schools. The donations
     included:
         a. Providing computers.
         b. Paying the fees for a number of students
         c. Carrying out renovation and repair work inside the schools.


     3. Cooperation with Charitable Societies and Associations
     1. The Al-Ansar Charitable Society donated school uniforms for children residing in
     the Al-Amal Institute for Orphans' Care in Gaza, during the school year 2002-2003.
     2. The Al-Ansar Charitable Society donated a computer to the brothers in the Al-
     Ajyal Charitable Society for Creation and Development.
     3. In 2003-2004, the Al-Ansar Charitable Society donated school items to the brothers
     in the Afaq Jadida [New Horizons] Society. These were distributed among the 100
     orphans, who are taken care of by the Afaq Jadida Society.
     4. The Al-Ansar Charitable Society donated school items to the Al-Amal Institute for
     Orphans' [Care] during the school year of 2003-2004. These included school uniforms
     for all pupils residing in the institute, of both sexes and of all age groups.


                                      Some of Our Projects
     *Care for Martyrs’ Families Project
     Al-Ansar Charitable Society contributed to the steadfastness of our Palestinian people
     through a project that supports the families of the blessed al-Aqsa Intifada martyrs.
     The project included both moral and financial support. The Society grants monthly
     benefits to the families of martyrs, taking into consideration the economic, social and
     marital status of the martyrs. This project was carried out in cooperation and
     coordination with Al-Shahid Association's Palestine branch.
                                                                       L_C000213 [continued]
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     *Orphans' Sponsorship: The Society carried out a project to care for orphaned
     children, and more specifically the children of those martyred during the first Intifada
     and the al-Aqsa Intifada. This was part of the Orphan Sponsorship Project, and in
     cooperation with Al-Shahid Association's Palestine branch and other charity
     organizations. The project is still going on.


     *Students: The Society carried out the Student Aid Project, in light of the siege and of
     the rising unemployment in the Palestinian society. It supports students who suffer
     hardships so that they could finish the [academic] year. It does so by paying all, or
     part of the students’ fees, in coordination with the Al-Bir Association in Ahl al-Kheir
     - Germany.
     *Educational Projects: The Society opened several kindergartens that prepare
     Palestinian children and provide them with a socially sound education.


     *Medical Care: The Society gave the sick, the injured and those with limited income a
     wide range of medical services, including:
         1. Providing full treatment on the expense of the Society.
         2. Paying full or partial cost for treatment of sick people.
         3. Carrying out a study for the benefit of a medical clinic in one of the areas of
             [Gaza] Strip.
     *Relief Projects:
     The Society provided relief aid.
         1. Distributing food to poor families with blameless records.
         2. Distributing sums of money to others.
         3. Distributing sacrificial meat to families with blameless records on Eid al-
             Adha.
         4. Distributing clothes on religious holidays.


     *Public Work Activities:
     The Society organized a ceremony in honor of the families of the al-Aqsa Intifada
     martyrs, as part of its public activities. Its aim was to elevate the spirit of sacrifice and
     solidarity. A number of speeches were delivered during the ceremony, including a
     speech by the chairman of the Society’s management board.
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     Commemorative shields with a picture of the blessed al-Aqsa Mosque were
     distributed to the families of the martyrs.


     In the same framework, the Society organized its first camp for the children of the
     martyrs. It lasted for one month and was named "Martyrdom and the Computer". At
     the end of the summer camp, a ceremony was held in honor of the excelling children.
     The event was attended by a number of national figures and by the families of the
     children.




     Homepage




                                                                    L_C000213 [continued]
